Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 1 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 2 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 3 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 4 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 5 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 6 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 7 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 8 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 9 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 10 of 11
Case 1:22-cr-00290-RDB Document 1 Filed 08/16/22 Page 11 of 11
